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                                           Contingency Fee Agreement 
                                                         
                                                                                   Date: August 2, 2017 
 
          I, John A. Yellig, (hereinafter “Client”), residing at 42 Tracey Drive, Whitinsville, MA 01588                 
hereby retain the Law Office of Alan David Meyerson of 100 State Street, Ninth Floor, Boston, MA 02109  
(“Counsel”) to perform the legal services specified in paragraph (1) below.  Counsel agrees to perform 
legal services faithfully and with due diligence. 
 
          (1)      Claim/Representation/Matter.  The filing of a claim by written demand, litigation in a 
trial court, or both, with reference to Client’s allegations of: 
                    
Wrongful Termination ‐ Interference/Retaliation with FMLA Rights. 
 
[ x ] Other: Potential Wage Act Claim (violation of G.L. c. 149, §§ 148‐150).                                            
 
The anticipated or suspected Defendant(s) is/are: Veterans Inc. and Vincent Perrone. 
 
The Representation shall not include: 
 
      Any appeals from any order or other determination or finding of a trial court; 
      Any proceedings related to the Defendant(s) filing for bankruptcy protection; 
      Any other disputes between Client and the Defendant not explicitly set forth above; or 
      Anything not specifically listed in this paragraph as being included within the scope of the 
          Representation. 
 
          (2)      Contingency  and  Compensation/Attorney’s  Fees.  The  contingency  upon  which 
Compensation is to be paid is the recovery of damages and/or other benefits or consideration for Client in 
connection with the above‐described Claim or Matter.  Such compensation is forty percent (40%) of the 
gross  collected  of  any  proceeds  from  the  Claim  described  above  or  any  settlement  of  the  Claim, 
including any multiple damages, but excluding any recovery of any attorneyʹs fees. 
 
Notwithstanding the foregoing, if any recovery of attorneyʹs fees exceeds the amount to which Counsel 
would  be  entitled  under  this  paragraph,  Counsel  shall  be  paid  the  amount  of  the  attorneyʹs  fees  so 
recovered  instead  of  the  amount  set  forth  above.    For  purposes  of  this  paragraph,  Client  and  Counsel 
agree that Counselʹs hourly rate is $250.00 per hour for purposes of any petition or motion for attorney’s 
fees.  Client and Counsel agree that the foregoing hourly rate reasonably reflects the attorney’s fees Client 
would incur if Counsel were not handling the Matter on a contingency basis. 
           
          (3)      Expenses.    Counsel  shall  advance  on  behalf  of  Client  all  out‐of‐pocket  costs  and 
expenses  incurred  in  pursuing  the  Matter.    Client  shall  reimburse  Counsel  for  all  out‐of‐pocket 
expenses,  including,  but  not  limited  to,  pre‐litigation  expenses,  filing  fees,  expert  witness  fees,  travel, 
research,  and  investigation  expenses,  court  costs,  arbitration  or  mediation  costs,  expenses  of  litigation, 
arbitration  or  mediation,  telephone  toll  charges,  photocopies  requested  by  Client,  pleadings, 
correspondence,  court  papers  and  work  product  material,  and  all  other  expenses  associated  with 
pursuing Client’s claim(s) only out of any recovery from the Claim described above or any settlement 
of  the  Claim.  Client  understands  that  costs  are  separate  from  Attorney’s  Fees  and  that  liability  for 
payment of costs exists separate and apart from liability for payment of Attorney’s Fees. In lieu of a 1/3 
contingency  fee  in  Paragraph  (2)  and  in  consideration  of  the  40%  contingency  set  forth  therein, 


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Counsel  and  Client  explicitly  agree  that  Client  shall  not  be  obligated  to  reimburse  Counsel  for 
Expenses in the event that Counsel does not recover any monies for Client. 
 
          (4)       Waiver of Attorney’s Fees.  Client agrees that Client will not enter, without the written 
consent  of  Counsel,  into  any  settlement  of  Client’s  claims  that  requires  Client  to  waive  or  compromise 
Client’s  claim  for  attorney’s  fees  or  that  requires  Client’s  claim  for  attorney’s  fees  to  be  litigated 
separately from Client’s claim for damages. 
           
          (5)       Payment of Referral Fee/Fee Sharing.   Counsel may choose to pay a referral fee to the 
attorney that referred this matter to Counsel or engage in other fee sharing arrangements with (an)other 
attorney(s).  Such referrals fee(s) or shared fee(s), if paid, shall be paid by Counsel alone and Client shall 
not be liable for any portion thereof.  Client hereby expressly agrees that Counsel may pay a referral fee 
or  engage  in  fee  sharing  as  described  herein.    Any  referral  fee(s)  or  shared  fee(s)  paid  pursuant  to  this 
paragraph shall be paid to William C. Parks, Esq. 
           
          (6)       Settlement  Proposals.    At  some  point  during  the  course  of  legal  representation,  the 
defendant(s)  may  offer  a  settlement  that  Counsel  believes  to  be  a  just  and  reasonable  resolution  of 
Client’s  claim.    If  Counsel  recommends  a  proposal  as  just  and  reasonable,  and  Client  refuses  to  accept 
such proposal, all further representation shall, at the sole discretion of Counsel, be on an hourly fee basis 
at  Counsel’s  then  currently  hourly  rate,  with  a  retainer  sufficient  to  cover  the  anticipated  fees  through 
trial.  Counsel’s hourly rate is presently $250.00 per hour.  
           
          (7)       Fee  Disputes.  If  Client  and  Counsel  are  unable  to  resolve  their  differences  on  the 
question  of  any  Attorney’s  Fee  or  Expense,  they  hereby  agree  to  make  a  good  faith  effort  at  resolving 
their  disputes.    If  the  dispute  cannot  be  resolved  through  good  faith  negotiation,  Client  and  Counsel 
agree  to  place  the  Fee  Dispute  before  the  Legal  Fee  Arbitration  Board  of  the  Massachusetts  Bar 
Association  and  agree  to  be  bound  by  the  decision  of  the  arbitrator(s).    Counsel  shall  be  entitled  to 
recover  his  costs  and  expenses,  including  reasonable  attorneys’  fees,  incurred  in  connection  with  a  Fee 
Dispute in which Counsel prevails. 
           
          (8)       Termination  of  Attorney‐Client  Relationship.  The  attorney‐client  relationship 
contemplated  by  this  Agreement  shall  terminate  automatically  without  further  action  of  Client  or 
Counsel upon the occurrence of the Contingency and payment of Attorney’s Fees set forth in Paragraph 2 
above.  Prior  to  the  occurrence  of  the  Contingency  and  payment  of  Attorney’s  Fees,  the  attorney‐client 
relationship may be terminated by either party as follows: 
 
Client may discharge Counsel from any further services at any time by giving written notice.  
 
Counsel  may  discontinue  representation  of  Client  at  any  time  if  the  attorney‐client  relationship 
deteriorates  because  of  Client’s  lack  of  cooperation  to  the  point  where  Counsel,  in  his  sole  discretion, 
determines that he can no longer adequately represent Client. Counsel may also discontinue the attorney‐
client relationship if Counsel determines, in Counsel’s sole discretion, that it is infeasible to continue the 
Representation on account of the insufficiency of the case based upon facts discovered subsequent to the 
initiation  of  the  attorney‐client  relationship  or  when  termination  of  the  attorney‐client  relationship 
becomes  necessary  on  account  of  the  Massachusetts  Rules  of  Professional  Conduct  (SJC  Rule  3:07)  or 
other applicable law. 
 
In the event that either Client or Counsel terminate the Representation, Client will be entitled to a copy of 
Client’s file that is in the possession and control of Counsel but shall not be entitled to any work product 
therefrom.  If  the  Attorney‐Client  relationship  is  terminated,  for  any  reason,  before  the  payment  of 
Attorney’s Fees and occurrence of the Contingency, Counsel may seek payment or compensation for the 
                                                            2
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services  rendered  and  expenses  advanced  for  the  benefit  of  Client  before  the  termination  of  the 
relationship.  
 
Counsel’s right to compensation as described above shall depend on the amount of work done before the 
termination  of  the  Representation,  the  benefit  derived  by  Client  from  the  services  rendered,  and  the 
timing and circumstances of the termination of the Representation. Counsel’s right to compensation shall 
not exceed the lesser of (i) the fair value of the legal services rendered by Counsel, or (ii) the contingent 
fee to which Counsel would have been entitled upon the occurrence of the contingency, if applicable, to 
the Representation.  This paragraph does not give Counsel any rights to payment beyond those conferred 
by existing law.  
          
         (9)  Internet‐Based  Storage  Providers.  Client  acknowledges  and  understands  that  Counsel  uses 
Internet‐Based  Storage  Providers,  such  as  Dropbox  and  Google  Apps,  for  storing  case  and  client 
information,  including  confidential  client  information.  Client  understands  that  he/she  may  instruct 
Counsel to refrain from storing Client’s confidential information with an Internet‐Based Storage Provider 
and that Counsel will abide by Client’s request to refrain from doing so. Client hereby acknowledges that 
he/she has not made such a request of Counsel and Client hereby expressly agrees that Counsel may use 
an  Internet‐Based  Storage  Provider  for  storing  Client’s  information,  including  case  information  and 
confidential client information. 
          
         (10)      Appeals.    Client  acknowledges  and  understands  that  this  Agreement  does  not  cover 
Appeals and, in the event an Appeal is necessary or desirable to Client, Client may need to retain another 
attorney immediately to protect and preserve Clientʹs rights.   
          
         (11)      Prior  Agreements/Modification.    This  Agreement  encompasses  the  entire  agreement 
between Counsel and Client and supersedes all previous understandings or agreements between Counsel 
and  Client,  whether  written  or  oral.    This  Agreement  may  only  be  modified  or  amended  by  a  written 
instrument,  signed  by  the  parties  hereto,  expressly  stating  that  the  parties  wish  to  be  bound  by  the 
modified agreement in lieu of this Agreement.  
          
PLEASE  READ  THE  FOLLOWING  IMPORTANT  NOTICE:  This  Agreement  differs  substantially 
from  the  Model  Contingent  Fee  Agreements  set  forth  in  Rule  1.5  of  the  Massachusetts  Rules  of 
Professional  Conduct.    This  Agreement  addresses  matters,  including  those  matters  addressed  in 
Paragraphs 4 ‐ 11 herein, that are not addressed in the Model Agreements.  By signing this Agreement, 
Client accepts Counsel’s use of this Agreement in lieu of the Model Agreements set forth in Rule 1.5. 
If Client has any questions or concerns about the contents of this Agreement, Client is hereby urged to 
seek  independent  counsel  to  review  this  Agreement.    Client  may  review  the  Model  Contingent  Fee 
Agreements  set  forth  in  Rule  1.5  at  the  following  link:  http://www.mass.gov/courts/case‐legal‐
res/rules‐of‐court/sjc/sjc307‐rule1‐5.html  and  Client  understands  that  Client  has  the  right  to  ask 
Counsel  to  review,  paragraph  by  paragraph,  the  differences  between  this  Agreement  and  the  Model 
Contingent Fee Agreements set forth in Rule 1.5.  Client hereby acknowledges and agrees that Client 
has had the opportunity to compare this Agreement to the Model Contingent Fee Agreements set forth 
in Rule 1.5 and is satisfied with Counselʹs use of this Agreement in lieu of the Model Agreements. 
 
Client agrees that Counsel cannot promise and has/have not promised any specific result, judgment, 
verdict  or  compromise  of  any  kind  or  any  nature  and  that  no  representation  pertaining  thereto  has 
been made. 
 
This agreement and its performance are subject to Rule 3:07 of the Rules of Professional Conduct 
adopted by the Massachusetts Supreme Judicial Court.  This is a legally binding contract.  If it is not 
understood, seek independent counsel. 
                                                         3
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We, Client and Counsel, have read the above fee agreement and understand its terms and have signed 
it as our free act and deed and acknowledge receipt of an executed copy of this agreement. 
 
 
 
                                                                                                     
Date                                           Client –  
 
 
 
                                                                                                     
Date                                           Counsel –        




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